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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )           CR 113-010
                                              )
MATTHEW HARRINGTON                            )
                                         _________

                                         ORDER
                                         _________

       Before the Court is Defendant’s probable cause challenge to the government’s

petition for revocation of Defendant’s supervised release. (Doc. no. 513.) After a hearing in

which it found probable cause for Violation Two of the petition, the Court ordered

supplemental briefing as to Violation One. (Doc. nos. 522, 523.) Upon consideration of the

briefs and hearing, the Court finds probable cause does not exist as to Violation One.

I.     BACKGROUND

        On December 7, 2016, the government petitioned the Court to revoke Defendant’s

supervised release based on two violations.       (Doc. no. 513.)      In Violation One, the

government alleges Defendant committed a crime by stealing a tractor trailer loaded with

new washers and dryers from Neighbors Exxon in Dublin, Georgia. (Id.) In Violation Two,

the government alleges Defendant unlawfully used a controlled substance based on two urine

screens that tested positive for marijuana. (Id.) The Court held a preliminary hearing on

December 19, 2016.      (Doc. nos. 517, 530.)     Court-appointed attorney Mitchell Snyder

represented Defendant. (Doc. no. 519; doc. no. 530, p. 1.)

       The Court heard testimony from Cpl. Chester Balmer, a Savannah-Chatham County
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police officer, Chambliss Stevens, Defendant’s probation officer, and Charlene Kennedy,

Defendant’s mother.    (See generally doc. no. 530.)      Cpl. Balmer testified extensively

concerning Violation One. (Id. at 3-29.) While assisting in the execution of a warrant at the

home of Joseph Morris on July 13, 2016, Cpl. Balmer saw brand new washing machines in

the backyard. (Id. at 4.) Upon further investigation, Cpl. Balmer determined these washers

were inside a commercial trailer that was stolen from a truck stop in Dublin, GA on July 10,

2017. (Id. at 5.) They were originally intended for Best Buy. (Id.)

        Cpl. Balmer received a phone call from a confidential informant who claimed to

know Defendant and his brother Johnny, both of whom are commercial truck drivers. (Id. at

6, 18.) This confidential informant “indicated that actually Johnny Harrington, [Defendant],

their brother Beaufort Harrington, and Joseph Morris were all involved in the theft.” (Id. at

6.) The source further informed Cpl. Balmer that Defendant, along with Johnny, drove to the

truck stop in Defendant’s white truck and hauled the stolen trailer to the Summerside

neighborhood in Savannah.        (Id.)   Defendant, along with Johnny and Joseph Morris,

transferred the washing machines into U-Haul trucks and abandoned the trailer along the side

of Summerside Road.      (Id.)   Several stolen washers were taken to a home owned by

Defendant’s mother on Eastgate Drive in Savannah. (Id. at 7.) The confidential informant

gave Cpl. Balmer a screenshot of a GPS tracker purportedly showing Johnny Harrington’s

phone at the truck stop where the theft occurred at approximately 3:00 a.m. the day of the

theft, although she did not identify how she was able to obtain such personal information.

(Id. at 7.)

        Cpl. Balmer was able to corroborate by independent investigation the overwhelming

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majority of the confidential informant’s information. (Id. at 7-9, 19-20.) The empty trailer

was found by law enforcement on Summerside Road. (Id. at 7.) Cpl. Balmer located the

house at 3723 Eastgate Drive, which was owned by Defendant’s mother, and, after securing

a search warrant, found several stolen washers on the property. (Id. at 8-9, 20.) A neighbor

across the street also stated she purchased a stolen washer from Defendant’s sister, Angela

Harrington, for $350. (Id.)

       Cpl. Balmer was not able to independently corroborate that Defendant actually was

with Johnny Harrington on the night of the theft. (Id. at 20.) Defendant, Johnny, and their

mother told Cpl. Balmer the two brothers do not get along. (Id. at 10, 12, 44.) Despite this

tension, they did admit to riding with each other two weeks prior to being interviewed by

Cpl. Balmer, which was around the time of the theft. (Id. at 10-12.) However, they gave

conflicting reports on whose truck they were in—Defendant claimed they were in Johnny’s

red and white truck, but Johnny claimed they were in Defendant’s gray and white truck.

(Id.) Neither ever admitted to riding together the night of the theft. (Id.) Furthermore,

while Defendant had lived there in the past, only Johnny and Angela lived at the house on

3723 Eastgate Drive at the time of the theft. (Id. at 20-21, 40.) Cpl. Balmer admitted there

was little to no evidence outside of the confidential informant to tie Defendant to the theft.

(Id. at 26.)

       Because Defendant did not have the opportunity to cross-examine the confidential

informant, the Court expressed concerns about admitting hearsay testimony through Cpl.

Balmer of the informant’s allegation that Defendant was involved in the theft. (Id. at 51-

54.) The Court further expressed concerns the government could not meet its burden of

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 proof without the informant’s testimony because “it sounds like the only thing we have here

 that ties this defendant specifically to the washing machine situation is the information

 provided by [the] tipster . . . .” (Id. at 48.)

       At the close of the evidence and after hearing arguments from both parties, the Court

found probable cause as to Violation Two of the petition, and based on that violation,

ordered Defendant detained pending his final revocation hearing before Judge Hall. (Id. at

62-64.) The Court requested briefs from both the government and Defendant regarding

Violation One, and withheld making a probable cause finding on that violation until

receiving the parties’ briefs. (Id. at 64-66.)

II.    DISCUSSION

       A.      Legal Standards

       Under Rule 32.1(b)(1)(A), a defendant detained for violating a condition of his

probation or supervised released is entitled to a preliminary hearing before a magistrate judge

to determine whether there is probable cause that the violation occurred. Fed. R. Crim. P.

32.1(b)(1)(A). At this preliminary hearing, the judge must give the defendant, “upon request,

an opportunity to question any adverse witness, unless the judge determines that the interest

of justice does not require the witness to appear.” Fed. R. Crim. P. 32.1(b)(1)(B)(iii).

       Because the Confrontation Clause of the Sixth Amendment does not apply to

revocation proceedings, a judge may admit hearsay testimony from confidential informants

without giving a defendant the opportunity to cross-examine them. See United States v.

Geathers, 297 F. App’x 885, 886 (11th Cir. 2008) (explaining there is no right to

confrontation in supervised release revocation proceedings). However, in deciding whether

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to admit the hearsay testimony, due process requires the court “balance the defendant’s right

to confront adverse witnesses against the grounds asserted by the government for denying

confrontation.” United States v. Frazier, 26 F.3d 110, 114 (11th Cir. 1994); see also Fed. R.

Crim. P. 32.1 advisory committee’s note, 2002 Amendments (“The court is to balance the

person’s interest in the . . . right to confrontation against the government’s good cause for

denying it.”). In addition, the Court must find the hearsay statement reliable. Frazier, 26

F.3d at 114.

       B.      Defendant’s Right to Confront the Confidential Informant Outweighs the
               Government’s Interest in Keeping Her Identity a Secret.

       Here, Defendant has a strong interest in confronting the confidential informant.

Indeed, the informant’s testimony is the only substantial evidence tying Defendant to the

crime. (See doc. 530, p. 48.) The government argues that because the informant’s testimony

is independently verifiable, it is therefore reliable and there is no need for Defendant to

cross-examine her. (See doc. no. 532, pp. 8-11.) However, despite being able to corroborate

many parts of the informant’s story, Cpl. Balmer admitted he “wasn’t able to confirm

[Defendant] was the driver of the white truck the night that it was stolen . . . .” (Doc. 530, p.

20.) As none of the other independently verified evidence implicates Defendant, he has a

strong interest in determining how the informant acquired information that he participated in

the washing machine heist.

       Furthermore, Defendant claimed at the hearing and in its post-hearing brief that the

informant’s identity is not a secret; it is the ex-girlfriend of brother Johnny. (See doc. no.

531, p. 4.) Defendant thus contends he has a strong interest in cross-examining her regarding


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possible bias and motive that could influence her testimony. Indeed, how she obtained such

intimate information as GPS tracking of Johnny Harrington’s phone is ripe for cross-

examination. (See id. at 5-6.) The government has not responded to these arguments.

       The government contended at the hearing that revealing the informant’s identity could

endanger the safety of the investigation.      (Doc. 530, p. 52.)    However, it appears the

informant’s identity is known to Defendant, something the government has not refuted.

Even if “the government also has an obligation to protect his/her identity as the source

requested,” they failed to do so; Cpl. Balmer repeatedly refers to the informant as “Mrs.

Berry” in his police report obtained by Defendant. (Doc. no. 532, p. 11; doc. no. 531, Ex. A,

p. 15.) Defendant repeatedly contends in its brief that the “Mrs. Berry” in the police report is

the confidential informant, and the government does not contest this. (See doc. no. 531, pp.

4, 6-8.)    The government presents no strong justification for failing to provide the

confidential informant as an adverse witness for Defendant to cross-examine.

       Accordingly, the confidential informant’s hearsay testimony should be excluded.

Because the balancing test weighs in favor of Defendant, the Court need not analyze whether

the hearsay statement was reliable.

       C.     Without the Confidential Informant’s Testimony, the Government Fails
              to Establish Probable Cause for Violation One.

       With the evidence of the confidential informant excluded, the government cannot

establish probable cause for Violation One. At the hearing, Cpl. Balmer testified:

       All I have [other than the confidential informant’s information] is . . . what
       they said during the interview about when they traveled there their [sic]
       conflicting statements of whose truck they were in and what the descriptions
       of the truck—where [Defendant] stated they were in Johnny’s truck and it was

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       a red truck with a white hood and his brother Johnny stated they were in
       [Defendant’s] truck which is a gray over white Volvo Truck.

(Doc. 530, p. 26.)

       This sparse evidence hardly connects Defendant to the crime.           Although both

Defendant and Johnny admitted to riding together “a week or two prior to the investigation,”

they never stated they rode together on the night of the robbery. (Id. at 10, 26.) Even if the

informant’s GPS screenshot establishes Johnny’s presence at the truck stop, it indicates

nothing about Defendant. (Id. at 20.) Furthermore, even though Defendant was known to

drive a white and gray truck, there is no evidence that the white truck identified by the

informant was in fact Defendant’s. (Id. at 22-23.)

       Because the only evidence tying this defendant specifically to the stolen washing

machines is the information provided by the tipster, there is no probable cause after the

exclusion of the informant’s hearsay statements.

III.   CONCLUSION

       In light of the foregoing and based upon the testimony and evidence presented at the

preliminary hearing, I find that probable cause does not exist as to Violation One of the

petition for violation of conditions of supervised release.

       SO ORDERED this 7th day of February, 2017, at Augusta, Georgia.




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